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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              STATESBORO DIVISION

THE UNITED STATES OF AMERICA,                       )
                                                    )
                      Plaintiff,                    )
v.                                                  )      6:20CR1-11
                                                    )
ALONZO ROBERTS, JR.,                                )
                                                    )
        Defendant.                                  )


                                          ORDER

       Counsel in the above-captioned case have advised the Court that some of the pretrial

motions have been complied with as to defendant, Alonzo Roberts, Jr. A hearing regarding the

remaining motions will be set by separate Notice.

       IT IS ORDERED THAT the following motions are DISMISSED:

       (Doc. 477) Motion for Release of Brady Materials,

       (Doc. 478) Motion for Discovery,

       (Doc. 480) Motion to Compel Disclosure of Confidential Witness, and

       (Doc. 482) Motion to Reveal Deal or Inducements of Witnesses,



       SO ORDERED, this WK day of August 2020.




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                                                                     __
                                            CHRISTOPHER
                                            CH
                                             HRI
                                               RISTO  PHER L. RAY
                                                    OPH
                                            UNITED STATES   S MAGISTRATE JUDGE
                                                                          J
                                            SOUTHERN DISTRICT OF GEORGIA
